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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE WESTERN DISTRICT OF ARKANSAS
                                            FORT SMITH DIVISION


                    UNITED STATES OF AMERICA                                      PLAINTIFF


                          V.             CRIMINAL NO. 06-20045-001


                    CHARLES C. CARTER, III                                        DEFENDANT


                                                     ORDER

                          Pursuant to the Court’s authority under 18 U.S.C. §

                    3582(c)(2) and Rule 43(b)(4) of the Federal Rules of Criminal

                    Procedure, the Court advises the parties that this defendant

                    may qualify for a sentence reduction due to a recent amendment

                    to the Crack Cocaine Offense Level Guidelines.

                          The U.S. Sentencing Commission has reduced guideline

                    offense levels for cocaine base cases, and has made the

                    reductions retroactive, effective March 3, 2008, to eligible,

                    previously-sentenced defendants pursuant to the terms set

                    forth in U.S.S.G. § 1B1.10.

                          If Defendant desires legal representation, he may request

                    the Court to appoint an attorney. The request will be granted

                    if the Court determines that an attorney is necessary to

                    protect the interest of the defendant.            Otherwise, Defendant

                    may present a pro se motion for reduction of sentence to the

                    Court.     Once a motion is filed, the U.S. Attorney’s Office is

                    directed to file a response stating its position.




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                          Should the U.S. Attorney’s Office have no objection to

                    such a reduction, the defendant will be advised and the matter

                    will be referred for the entry of an agreed order.

                          All other terms and provisions of the original judgment

                    will remain in effect.

                          IT IS SO ORDERED this 11TH day of March, 2008.



                                                       /S/ Robert T. Dawson
                                                       Honorable Robert T. Dawson
                                                       United States District Judge




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